    Case: 1:18-cv-02435 Document #: 34 Filed: 06/04/18 Page 1 of 14 PageID #:725




                            UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF ILLINOIS


SPENCER ROLAND BUENO, Individually )                Case No. 1:18-cv-02435
and on Behalf of All Others Similarly Situated, )
                                                )   CLASS ACTION
                             Plaintiff,         )
                                                )   The Honorable Manish S. Shah
       vs.                                      )
                                                )
CBOE GLOBAL MARKETS, INC., et al.,              )
                                                )
                             Defendants.
                                                )
                                                )
AMY HUANG, On Behalf of Herself and All )           Case No. 1:18-cv-02460
Those Similarly Situated,                       )
                                                    CLASS ACTION
                                                )
                             Plaintiff,
                                                )   The Honorable Manish S. Shah
       vs.                                      )
                                                )
CHICAGO BOARD OPTIONS EXCHANGE, )
INC., et al.,                                   )
                                                )
                             Defendants.        )
                                                )

[Caption continued on following page.]


            MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR APPOINTMENT
                OF SPENCER ROLAND BUENO AS LEAD PLAINTIFF AND
                    APPROVAL OF SELECTION OF LEAD COUNSEL




1439563_1
    Case: 1:18-cv-02435 Document #: 34 Filed: 06/04/18 Page 2 of 14 PageID #:725




ALEX PALATIELLO, On Behalf of Himself )             Case No. 1:18-cv-02490
and All Others Similarly Situated,              )
                                                )   CLASS ACTION
                               Plaintiff,       )
                                                )   The Honorable Manish S. Shah
       vs.                                      )
                                                )
CBOE EXCHANGE, et al.,                          )
                                                )
                               Defendants.
                                                )
                                                )
WILLIAM SIEGEL, On Behalf of Himself and )          Case No. 1:18-cv-03021
All Others Similarly Situated,                  )
                                                    CLASS ACTION
                                                )
                               Plaintiff,
                                                )   The Honorable Manish S. Shah
       vs.                                      )
                                                )
CBOE EXCHANGE, INC., et al.,                    )
                                                )
                               Defendants.      )
                                                )
NATHAN L. TERWILLIGER, Individually )               Case No. 1:18-cv-03074
and on Behalf of All Others Similarly Situated, )
                                                )   CLASS ACTION
                               Plaintiff,       )
                                                )   The Honorable Manish S. Shah
       vs.                                      )
                                                )
CBOE GLOBAL MARKETS, INC., et al.,              )
                                                )
                               Defendants.      )
                                                )
COREY BURNELL, Individually and on              )   Case No. 1:18-cv-03355
Behalf of All Others Similarly Situated,        )
                                                )   CLASS ACTION
                               Plaintiff,       )
                                                )   The Honorable Manish S. Shah
       vs.
                                                )
CBOE GLOBAL MARKETS, INC., et al.,              )
                                                )
                               Defendants.      )
                                                )
                                                )




1439563_1
     Case: 1:18-cv-02435 Document #: 34 Filed: 06/04/18 Page 3 of 14 PageID #:725




        Class member and proposed lead plaintiff Spencer Roland Bueno (“Bueno”) respectfully

submits this memorandum of law in support of his Motion for an order: (1) appointing Bueno lead

plaintiff pursuant to the Private Securities Litigation Reform Act of 1995 (“PSLRA”), 78 U.S.C.

§78u-4(a)(3)(B); and (2) approving Bueno’s selection of Robbins Geller Rudman & Dowd LLP

(“Robbins Geller”) and Quinn Emanuel Urquhart & Sullivan, LLP (“Quinn Emanuel”) as lead

counsel for the proposed class.

I.      PRELIMINARY STATEMENT

        Presently pending in this District is a securities class action (the “Action”) brought on behalf

of investors who held or traded S&P 500 (“SPX”) option contracts (“SPX Options”), CBOE

Volatility Index (“VIX”) option contracts (“VIX Options”), futures based on the VIX (“VIX

Futures”), or VIX Exchange Traded Products (“VIX ETPs”) (collectively, “VIX Instruments”) on

exchanges run by CBOE Global Markets, Inc. and its affiliates (“CBOE”) during the Class Period1

and were injured as a result of the alleged misconduct.

        Bueno understands that his Action is one among many arising out of similar facts and

awaiting a decision from the U.S. Judicial Panel on Multidistrict Litigation (the “MDL”) regarding

whether and how to coordinate or consolidate. The PSLRA, however, which is currently applicable

to at least Bueno’s Action, provides that any member of the purported class must move the Court to

be appointed as lead plaintiff within 60 days after the date on which the statutory notice is published,

or by June 4, 2018. See Motion, Ex. A; 15 U.S.C. §78u-4(a)(3)(A).

        Bueno thus respectfully submits he is the presumptively most adequate plaintiff in this case

because he has filed a timely “motion in response to a notice,” believes he has the “largest financial

1
   The Class Period in the Bueno Complaint is from March 26, 2004 to the present in the case of
VIX Futures and SPX Options; from February 24, 2006 to the present in the case of VIX Options;
and from August 2008 to the present in the case of VIX ETPs. See ECF No. 1, ¶158 (Class Action
Complaint “Complaint”).

                                                 -1-
1439563_1
      Case: 1:18-cv-02435 Document #: 34 Filed: 06/04/18 Page 4 of 14 PageID #:725




interest in the relief sought by the class” and “otherwise satisfies the requirements of Rule 23.” 15

U.S.C. §78u-4(a)(3)(B)(iii). In addition, Bueno’s selection of Robbins Geller Rudman & Dowd LLP

and Quinn Emanuel Urquhart & Sullivan, LLP as lead counsel for the purported class is reasonable

and should be approved. 15 U.S.C. §78u-4(a)(3)(B)(v).

         Because Bueno satisfies the statutory criteria for appointment as lead plaintiff, the Court

should grant this Motion.

II.      SUMMARY OF THE RELATED ACTIONS2

         The CBOE Volatility Index (the “VIX”) is widely known as the U.S. stock market’s “fear

gauge,” in that it seeks to measure the expected volatility of the S&P 500. CBOE created the VIX to

measure volatility in the equity market pursuant to an exclusive licensing agreement with S&P to use

S&P’s benchmark figure for the value of the equity market, i.e., the S&P 500 (“SPX”). Having

secured an exclusive license on SPX in order to create the VIX, CBOE has since built a suite of

proprietary products based upon both, including: VIX Instruments.

         As alleged in the Complaint, despite knowing that the settlement process it created and

administered was itself a type of deceptive device – as it allowed a privileged few to game the

process to produce a desired set of cash payments to their advantage – CBOE continuously marketed

VIX, and VIX Options and Futures, as “the world’s premier barometer of investor sentiment and

market volatility,” and VIX Futures, as “a pure play on implied volatility independent of the

direction and level of stock prices.” ECF No. 1, ¶12. These statements to the market were all false

and misleading, as were the VIX Options and Futures settlement values that CBOE calculated and

published to the market. As CBOE knew, the settlement values for VIX Options and Futures were

not being driven by natural market forces of supply and demand, but rather by the unlawful profit


2
      The factual background is a summary of the Bueno Complaint allegations. See ECF No. 1.

                                                -2-
1439563_1
       Case: 1:18-cv-02435 Document #: 34 Filed: 06/04/18 Page 5 of 14 PageID #:725




motives of a privileged few. And as CBOE also knew, all of this manipulation was being carried out

through the John Doe Defendants’ use of SPX Options, another product proprietary to CBOE, and

tradable only on CBOE’s exchange.

         As a consequence of these activities, the Complaint alleges that CBOE and a few of its

preferred traders violated the Securities and Exchange Act of 1934, the Commodity Exchange Act,

and the Sherman Antitrust Act. As another consequence, the proposed class has suffered, and

continues to suffer, substantial economic harm and damages on an ongoing basis. Defendants’

misconduct has also eroded the public confidence vital to the robust and orderly functioning of the

marketplace.

         Bueno is, like others, awaiting a decision by the MDL panel with respect to whether and how

to consolidate or coordinate at least 19 actions arising out of the same core facts. Bueno’s

Complaint includes a claim for manipulation in violation of Rule 10(b) of the Securities Exchange

Act of 1934 and Rule 10b-5 against CBOE. Other complaints that will be subject to the MDL

panel’s decision purport to have avoided the PSRLA’s requirements by not facially invoking claims

under it, instead alleging the same instruments are governed by other laws.

III.     ARGUMENT

         A.     Plaintiff Bueno Should Be Appointed Lead Plaintiff

         The PSLRA establishes the procedure for the appointment of a lead plaintiff in “each private

action arising under [the Securities Exchange Act of 1934] that is brought as a plaintiff class action

pursuant to the Federal Rules of Civil Procedure.” 15 U.S.C. §78u-4(a)(1); see also 15 U.S.C. §78u-

4(a)(3)(B)(i). First, “[n]ot later than 20 days” after the complaint is filed, a notice must be published

“in a widely circulated national business-oriented publication or wire service” advising members of

the purported plaintiff class “of the pendency of the action, the claims asserted therein, and the

purported class period” and that “not later than 60 days after the date on which the notice is
                                                  -3-
1439563_1
    Case: 1:18-cv-02435 Document #: 34 Filed: 06/04/18 Page 6 of 14 PageID #:725




published, any member of the purported class may move the court to serve as lead plaintiff.” 15

U.S.C. §78u-4(a)(3)(A)(i). The statutory notice in this case was published the same day the

Complaint was filed on April 5, 2018 via Business Wire. See Motion, Ex. A.

        Next, the PSLRA provides that the Court shall adopt a presumption that the most adequate

plaintiff is the person that –

        (aa) has either filed the complaint or made a motion in response to a notice . . .;

        (bb) in the determination of the court, has the largest financial interest in the relief
        sought by the class; and

        (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil
        Procedure.

15 U.S.C. §78u-4(a)(3)(B)(iii)(I). Bueno meets each of these requirements and should therefore be

appointed Lead Plaintiff.

                1.      This Motion Is Timely

        The statutory notice published in this case advised purported class members of the pendency

of the action, the claims asserted, the proposed class period and the right to move the Court to be

appointed as lead plaintiff within 60 days, or by June 4, 2018. See Motion, Ex. A; 15 U.S.C. §78u-

4(a)(3)(A). Because Bueno’s Motion has been timely filed by the statutory deadline, he is eligible

for appointment as lead plaintiff.

                2.      Bueno Has the Largest Financial Interest in the Relief Sought
                        by the Class

        During the Class Period, Bueno purchased and sold in the aggregate nearly 3 million VIX

Instruments, which were affected by Defendants’ misconduct. Motion, Exs. B-C. See Pirelli

Armstrong Tire Corp. Retiree Med. Benefits Tr. v. LaBranche & Co., 229 F.R.D. 395, 407 (S.D.N.Y.

2004) (adopting the movants’ “aggregate trades theory” to assess the “comparison among the

candidates for lead plaintiff”). With a total dollar value exceeding $76 million, these transactions

represent the largest financial interest in the relief sought by the class. See Motion, Exs. B-C; 15
                                                  -4-
1439563_1
    Case: 1:18-cv-02435 Document #: 34 Filed: 06/04/18 Page 7 of 14 PageID #:725




U.S.C. §78u-4(a)(3)(B)(iii)(I)(bb). Upon information and belief, no other qualified class member

has sought, or is seeking, appointment as lead plaintiff with a larger financial interest.

                3.      Bueno Otherwise Satisfies Rule 23

        In addition to possessing a significant financial interest, a lead plaintiff must also “otherwise

satisf[y] the requirements of Rule 23 of the Federal Rules of Civil Procedure.” 15 U.S.C. §78u-

4(a)(3)(B)(iii)(I)(cc). Rule 23 requires that “the claims or defenses of the representative parties are

typical of the claims or defenses of the class; and [that] the representative parties will fairly and

adequately protect the interests of the class.” Fed. R. Civ. P. 23(a)(3)-(4). “At this stage of the

litigation, ‘typicality and adequacy of representation are the only relevant considerations.’” Bristol

Cty. Ret. Sys. v. Allscripts Healthcare Sols., Inc., No. 12 C 3297, 2012 WL 5471110, at *5 (N.D. Ill.

Nov. 9, 2012) (quoting In re Motorola Sec. Litig., No. 3 C 287, 2003 WL 21673928, at *3 (N.D. Ill.

July 16, 2003) (“A wide-ranging analysis of the Rule 23 factors should be left for consideration of a

motion for class certification.”).

        “‘A claim is typical if it arises from the same event or practice or course of conduct that gives

rise to the claims of other class members’ and is ‘based on the same legal theory.’”3 Bristol Cty. Ret.

Sys., 2012 WL 5471110, at *5. “‘To meet the adequacy requirement, the plaintiff must demonstrate

that (1) his claims are not antagonistic or in conflict with those of the [purported] class; (2) he has

sufficient interest in the outcome of the case to ensure zealous advocacy; [and] (3) he is represented

by competent, experienced counsel who will be able to prosecute the litigation vigorously.’” Id.

        Bueno satisfies both requirements here. Indeed, Bueno’s claims are typical of the purported

class members’ claims as he purchased VIX Instruments during the Class Period and suffered

damages as a result of defendants’ alleged wrongdoing. In addition, Bueno has no conflict with the


3
    Unless otherwise noted, citations are omitted and emphasis is added, here and throughout.

                                                  -5-
1439563_1
    Case: 1:18-cv-02435 Document #: 34 Filed: 06/04/18 Page 8 of 14 PageID #:725




putative class and the significant loss suffered provides strong indicia that Bueno will maximize the

net recovery for the class. Moreover, Bueno is represented by competent, experienced counsel who

will be able to prosecute this litigation vigorously.

        Because Bueno filed a timely motion, has a large financial interest in the relief sought by the

putative class and is typical and adequate, the Court should adopt the presumption that Bueno is the

“most adequate plaintiff.”

        B.     The Court Should Approve Bueno’s Selection of Counsel

        The “most adequate plaintiff shall, subject to the approval of the court, select and retain

counsel to represent the class.” 15 U.S.C. §78u-4(a)(3)(B)(v). In this case, Bueno has selected

Robbins Geller and Quinn Emanuel as lead counsel. See Motion, Exs. D-E.

        Robbins Geller, a 200-attorney firm with offices nationwide and in this District, regularly

practices complex securities litigation. Motion, Ex. D. Robbins Geller’s reputation for excellence

has been repeatedly noted by district courts throughout the country and has resulted in the

appointment of Robbins Geller attorneys to lead roles in hundreds of complex class action securities

cases. See id. In this District, on October 20, 2016, after 14 years of tireless litigation, Robbins

Geller obtained final approval of a record-breaking $1.575 billion recovery in the Household

International (now HSBC Finance Corporation) securities class action. In approving the settlement,

Judge Alonso noted the attorneys’ “skill and determination” while recognizing that “Lead Counsel

prosecuted the case vigorously and skillfully over 14 years against nine of the country’s most

prominent law firms” and “achieved an exceptionally significant recovery for the class.” Motion,

Ex. F at 2; id., Ex. G at 56, 65. The court added that the team faced “significant hurdles” and “uphill

battles” throughout the case and recognized that “[c]lass counsel performed a very high-quality legal

work in the context of a thorny case in which the state of the law has been and is in flux.” Ex. G at



                                                 -6-
1439563_1
    Case: 1:18-cv-02435 Document #: 34 Filed: 06/04/18 Page 9 of 14 PageID #:725




56, 65. The Household case demonstrates Robbins Geller’s willingness to commit the necessary

resources to protect the class’s interests.

        Similarly, Quinn Emanuel is the largest law firm in the world devoted solely to business and

complex securities litigation, with more than 650 lawyers nationwide. Quinn Emanuel was among

the first law firms to bring claims on behalf of large investors against banks for misrepresenting their

residential mortgage-backed securities and other structured products. The complaints in those cases

relied on sophisticated economic analyses, as will the operative complaint in this case. Quinn

Emanuel’s reputation for excellence has been repeatedly noted by judges throughout the United

States, resulting in Quinn Emanuel’s appointment to lead roles in numerous complex class action

cases. See, e.g., Motion, Ex. H at 4 (appointing Quinn Emanuel as co-lead counsel and citing its size

and “more creative approach”); id., Ex. I at 5 (noting that Quinn Emanuel and Robbins Geller have

“substantially more resources at their disposal than the other applicant teams”).

        Quinn Emanuel’s success in these practice areas is perhaps best exemplified by the CDS

antitrust action. Id., Ex. J at 37. The Honorable Denise L. Cote appointed Quinn Emanuel to be the

“private attorney general” in that action, recognizing that:

        [Quinn Emanuel] has a track record, a knowledge of the CDS market and antitrust
        litigation. It’s well equipped with trial lawyers who can actually go into court and try
        a case. It has run massive discovery cases by itself essentially. And it has
        extraordinary strengths with respect to appellate litigation. . . . It has European
        offices. It has a substantial New York presence. It’s familiar with litigating against
        these very banks. It’s familiar with litigating in this courthouse.
Id., Ex. J at 37-38. It took Quinn Emanuel’s unmatched resources and expertise to develop the CDS

case to the point where, despite the lack of regulatory action, all defendants settled for $1.87 billion.

See id., Ex. K at 9-10. In his declaration supporting the terms of the settlement of the CDS case, the

mediator, the Honorable Daniel Weinstein (Ret.), stated:

        I would go so far as to say that, in 30-plus years of mediating high-stakes disputes,
        this was one of the finest examples of efficient and effective lawyering by plaintiffs’
        counsel that I have ever witnessed. I have rarely, if ever, observed a Plaintiff in a
                                                  -7-
1439563_1
   Case: 1:18-cv-02435 Document #: 34 Filed: 06/04/18 Page 10 of 14 PageID #:725




        case of this complexity and size, achieve a result of this magnitude with the speed
        that Plaintiffs achieved here.
Id., Ex. L. at 2.

        Based upon Robbins Geller’s and Quinn Emanuel’s extensive experience and proven track

record as counsel in complex securities and financial class actions, Bueno’s selection of Robbins

Geller and Quinn Emanuel as lead counsel is reasonable and should be approved.

IV.     CONCLUSION

        Bueno has satisfied each of the PSLRA’s requirements for appointment as lead plaintiff. As

such, Bueno respectfully submits he should be appointed lead plaintiff and his selection of Robbins

Geller and Quinn Emanuel as lead counsel should be approved.

DATED: June 4, 2018                         Respectfully submitted,

                                            ROBBINS GELLER RUDMAN
                                             & DOWD LLP
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                                               -8-
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1439563_1
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                                     [Proposed] Lead Counsel for Plaintiff




                                       - 10 -
1439563_1
   Case: 1:18-cv-02435 Document #: 34 Filed: 06/04/18 Page 13 of 14 PageID #:725




                                   CERTIFICATE OF SERVICE

        I hereby certify that on June 4, 2018, I authorized the electronic filing of the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such filing to the

e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

CM/ECF participants indicated on the attached Manual Notice List.

        I certify under penalty of perjury that the foregoing is true and correct. Executed on June 4,

2018.

                                                    s/ BRIAN O. O’MARA
                                                    BRIAN O. O’MARA

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TUVÿXYZZY[\]^ÿ\bÿaUVÿZ\baÿYXÿ_aaY`]Vebÿ[UYÿ_`Vÿ27:ÿY]ÿaUVÿZ\baÿaYÿ̀VcV\fVÿVgh_\Zÿ]Ya\cVbÿXY`ÿaU\bÿc_bVÿ[UYÿaUV`VXY`Vÿ̀Vrd\`Vÿh_]d_Zÿ]Ya\c\]^iÿYd
h_eÿ[\bUÿaYÿdbVÿeYd`ÿhYdbVÿaYÿbVZVcaÿ_]pÿcYeÿaU\bÿZ\baÿ\]aYÿeYd`ÿ[Y`pÿ`YcVbb\]^ÿ`Y^`_hÿ\]ÿY`pV`ÿaYÿc`V_aVÿ]Ya\cVbÿY`ÿZ_tVZbÿXY`ÿaUVbVÿ̀Vc\\V]abi
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